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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 625 LEASING, LLC                                      CASE NO. 1:25-cv-621
 625 North State Route 4
 Omar, Ohio 44807
                                                       UNITED STATES DISTRICT JUDGE
                   Plaintiff,

          v.                                           [JURY DEMAND ENDORSED
                                                       HEREON]
 REAL GOOD FOODS, INC.
 3 Executive Campus
 Cherry Hill Township, New Jersey 08002

                   Defendant.


                                          COMPLAINT


         NOW COMES, the Plaintiff, 625 Leasing, LLC, and for its Complaint against the

Defendant, Real Good Foods, Inc. states as follows:

                           NATURE OF THE ACTION, PARTIES,
                              JURISDICTION, AND VENUE

         1.       This action arises from the Plaintiff’s lease of multi-million-dollar food

processing equipment to Defendant primarily used to prepare gluten-free fried chicken

sold in major big-box retailers throughout the United States, including Costco, Wal-Mart,

Kroger, Target, and Publix. See e.g. https://realgoodfoods.com/ (last visited March 26,

2025).

         2.       Plaintiff is a limited liability company organized under the laws of the State

of Ohio with a principal place of business in Omar, Ohio. No member of Plaintiff is a

citizen of any other state.
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        3.      Defendant is a for-profit corporation organized under the laws of the State

of Delaware with a principal place of business in Cherry Hill, New Jersey. Until voluntarily

delisting in February 2025, Defendant was formerly publicly traded on Nasdaq. See

https://s3.amazonaws.com/b2icontent.irpass.cc/3003/rl142178.pdf (last visited March

26, 2025).

        4.      Furthermore, Defendant operates an industrial food processing facility in

Bolingbrook, Illinois.

        5.      The Court has subject matter jurisdiction under 28 U.S.C. § 1332 because

there is complete diversity between Plaintiff and Defendant, and the amount in dispute

exceeds $75,000.00.

        6.      Defendant is subject to the personal jurisdiction of this Court because it

expressly consented to the exclusive jurisdiction of courts having jurisdiction over Lorain

County, Ohio. (Ex. A, Section 22)

        7.      For the same reason, venue is proper in this District under 28 U.S.C. § 1391.

(Id.)

                          FACTS COMMON TO ALL CLAIMS

        8.      On or about October 9, 2023, Plaintiff and Defendant executed an

Equipment Lease Agreement (the “Lease”) whereby Plaintiff agreed to lease Defendant

certain food processing equipment to be used at its Bolingbrook facility in exchange for

Six Million Seven Hundred Ninety-Five Thousand Ninety-Three Dollars and Seventy

Cents ($6,795,093.70) paid over three (3) years.

        9.      Other material terms of the Lease include, but are not limited to:

                a. Lessor acknowledges receipt of the sum of One Million, One Hundred
                   Fifty Thousand, and 00/100 dollars ($1,150,000.00) from Lessee on or
                   before the Commencement Date. (Ex. A, Section 4(a))

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   b. Further, Lessee agrees to pay Four Million, Four Hundred Eighteen
      Thousand, Eight Hundred Sixty and 00/100 dollars ($4,418,860.00) in
      thirty-six (36) equal monthly installments of One Hundred Fifty-Six
      Thousand, Eight Hundred Eight, and 16/100 dollars ($156,808.16)
      beginning on or before the Commencement Date and continuing on the
      first day of each successive month thereafter until all rent and taxes are
      paid. (Ex. A, Section 4(b))

   c. The Equipment is, and shall at all times be and remain, personal
      property, and title thereto shall remain with Lessor exclusively,
      notwithstanding that the Equipment or any part thereof may now be, or
      hereafter become, in any manner, affixed or attached to, or embedded
      in, or permanently resting upon, real property, or any building thereon,
      or attached in any manner to that which is permanent, by any means
      whatsoever. Upon the expiration or termination of this Lease, Lessee
      shall, at Lessee's own expense, promptly return the Equipment by
      delivering it, packed and ready for shipment, to such place or carrier as
      Lessor may specify, in the same condition as received, reasonable wear
      and tear excepted. (Ex. A, Section 9)

   d. If Lessee fails (a) to pay rent or any other payment within fifteen (15)
      days from its due date, or (b) to pay any other indebtedness to Lessor
      arising independently of this Lease, or (c) in the event Lessee defaults,
      breaches or fails to perform any terms of this Lease or (d) in the event of
      any default, breach or failure to perform any terms, provisions or
      conditions in any other agreement between Lessor and Lessee, or (e) if
      any proceeding in bankruptcy, reorganization, receivership or
      insolvency is commenced by or against Lessee or Lessee’s property or
      assets, or (f) if Lessee makes an assignment for the benefit of one of more
      of Lessee's creditors, or (g) if Lessee seeks relief under any other law
      providing for the relief of debtors, then, if and to the extent permitted by
      applicable law, Lessor shall have the right to exercise any one or more of
      the remedies set forth in Section 16 below. (Ex. A, Section 15)

   e. Upon the happening of any one or more events of default described in
      Section 15 above, which remains uncured after fifteen (15) days, Lessor
      shall have the right to declare the entire balance of rent due and
      immediately payable; and/or commence an action against Lessee for all
      sums due hereunder; and/or without demand or legal process to enter
      into the premises where the Equipment may be found and take
      possession of and remove same, whereupon all rights of Lessee in the
      Equipment shall terminate absolutely. Lessor may retain all prior
      payments by Lessee and sell the Equipment at public or private sale with
      notice to Lessee, at which sale Lessor may be a purchaser, and the
      proceeds of such sale less all expenses incurred by Lessor in connection
      therewith, including, but not limited to retaking, storing, repairing,

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                  reselling, delivering commissions, and attorneys’ fees will be added to
                  the total sum due under this Lease, which shall be immediately payable
                  by Lessee. The foregoing remedies shall be in addition to all other
                  remedies available to Lessor at law or in equity. All remedies of Lessor
                  are cumulative and may, to the extent permitted by law, be exercised
                  concurrently or separately, and the exercise of any one remedy shall not
                  be deemed to be an election of such remedy. In addition to other
                  remedies, a twelve percent (12%) monthly finance charge shall be added
                  to all late payments. (Ex. A, Section 16)

      10.      A true and correct copy of the Lease is attached as Exhibit A.

      11.      The total sum due under the Agreement was incorrectly calculated therein

as $5,568,860.00; however, Defendant’s auditors later identified the correct figure and

Defendant acknowledged that the monthly invoices combined with the agreed-upon 36-

month term were indeed accurate such that the correct total sum due was $6,795,093.70.

(Ex. A, Section 4)

      12.      Beginning on July 28, 2023, Defendant began making incremental

payments towards the initial deposit described in Section 4(a), and by October 18, 2023,

had paid Plaintiff One Million Two Hundred Thousand Dollars ($1,200,000.00).

      13.      Plaintiff began delivering equipment to Defendant on or about September

15, 2023, including an enormous fryer and related appurtenances used to filter cooking

oil and convey thermal fluid (the “Equipment”). Photographs of the Equipment are

attached as Exhibit B.

      14.      Almost immediately, Defendant defaulted on its obligation to make the

monthly payments described in the Lease and has made no payment since October 18,

2023. (Ex. A, Section 4(b)).

      15.      Plaintiff notified Defendant of its default and ceased to deliver additional

equipment until the payment delinquency could be resolved.



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         16.      However, Defendant began a series of internal corporate changes, including

the removal of various management employees with whom Plaintiff had negotiated the

Lease.

         17.      For more than six months, Defendant suggested to Plaintiff that it intended

to negotiate a lump sum buyout of the Equipment and ignore its remaining payment

obligations under the Lease.

         18.      However, in the summer of 2024, Defendant advised Plaintiff that it no

longer had clear internal direction and was thus unable to make any commitment to

honor the Lease.

         19.      Then on September 26, 2024, Defendant publicly announced a major debt

restructuring and the introduction of $52 million in new capital “for general corporate

purposes and transaction fees” that will “support the expansion of the [Defendant’s]

manufacturing capabilities and drive several corporate initiatives to position the

Company               for         profitable         long-term          growth.”         See

https://s3.amazonaws.com/b2icontent.irpass.cc/3003/rl139491.pdf (last visited March

26, 2025).

         20.      Nonetheless, Defendant still refused to honor its obligations under the

Lease, and after discussions between counsel for the Parties were unsuccessful, Plaintiff

provided formal notice to Defendant of the breach and intent to exercise all remedies

under the Lease on February 5, 2025, including the right to immediately take possession

of the Equipment and recover payment in full on the balance of the Lease.




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                                        COUNT I
                                    Breach of Contract

       21.      Plaintiff realleges and incorporates by reference all allegations contained in

the preceding paragraphs.

       22.      Defendant breached the Lease by, inter alia, failing to make timely

payments to Plaintiff, and failing to return the Equipment.

       23.      Plaintiff fully performed its obligations under the Lease, and as a direct and

proximate result of Defendant’s breach, Plaintiff has incurred damages in an amount to

be determined at trial.

                                         COUNT II
                                         Replevin

       24.      Plaintiff realleges and incorporates by reference all allegations contained in

the preceding paragraphs.

       25.      Plaintiff is the lawful owner of all equipment delivered to Defendant under

the lease, and thus title to such equipment remains in Plaintiff’s name.

       26.      Despite having no legal right and contrary to Plaintiff’s demand under the

Lease, Defendant has retained possession of the Equipment at its Bolingbrook facility.

       27.      Pursuant to R.C. § 2737.01, et seq., Plaintiff respectfully requests that the

Court order the immediate return of the Equipment to Plaintiff and/or timely conduct all

hearings and issue all notices required under Ohio law.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendant as follows:

       A. An order directing Defendant to return all equipment delivered under the Lease
          to Plaintiff;

       B. An order for compensatory damages in an amount to be determined at trial;


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C. An award of attorney’s fees and costs incurred by Plaintiff in prosecuting this
   action; and

D. Any other and further relief in law or equity to which Plaintiff may be entitled
   under the law.


                                    Respectfully submitted,

                                    DOOLEY, GEMBALA, McLAUGHLIN
                                    & PECORA CO., LPA

                                    /s/ Matthew A. Dooley
                                    Matthew A. Dooley (0081482)
                                    5455 Detroit Road
                                    Sheffield Village, Ohio 44054
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                                    Counsel for Plaintiff 625 Leasing, LLC




                              JURY DEMAND

Plaintiff demands a trial by jury on all issues so triable herein.

                                     /s/ Matthew A. Dooley
                                     Matthew A. Dooley (0081482)
                                     Counsel for Plaintiff




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